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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                        CRIMINAL ACTION

VERSUS                                                          NO. 14-40

DONALD NIDES                                                    SECTION "E"(3)


                                        ORDER

        Before the Court is the Government’s notice of intent to offer evidence of other

acts pursuant to Rule 404(b) of the Federal Rules of Evidence. 1 Defendant Nides

responded, requesting that the evidence be excluded.2 Having considered the

memoranda, the evidence being offered by the Government, and the applicable law, the

Court finds that the evidence of other acts is admissible pursuant to Rules 404(b) and

403 of the Federal Rules of Evidence.

                                   BACKGROUND

        This criminal case arises out of the operation of “pill mill” pain management

clinics by Tiffany Miller (“Miller”) and Joseph Mogan (“Mogan), who conspired “to

dispense quantities of oxycodone (oxycontin), opana, MS contin, methodone,

hydromorphone,      hydrocodone,    alprazolam,    diazepam,    clonazepam,    butalbital,

carisprodal, and other Schedule II, III, and IV controlled substances outside the scope of

professional practice and not for a legitimate medical purpose,” and Defendant Nides’s

alleged assistance in covering up that activity while a New Orleans Police Department

officer deputized as a Drug Enforcement Agency (“DEA”) Tactical Diversion Task Force




1 R. Doc. 91.
2 R. Doc. 95.




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member.3 Nides was indicted on February 21, 2014 with eight charges.4 A superseding

indictment was returned on August 8, 2014, which added a ninth charge.5

         The Government filed a notice of intent to use evidence of other acts, giving Nides

notice that it intends to introduce: (1) 404(b) extrinsic evidence relating to the corrupt

law enforcement conduct of Defendant Nides involving Advanced Medical Management

and the Paul Toye family, and (2) intrinsic evidence of the crimes charged in the

indictment relating to Nides’s disclosure of confidential law enforcement information to

Tiffany Miller about the Global Health Care search.6 Nides objects to the evidence being

offered and requests it be excluded.7

                                            DISCUSSION

         Under Federal Rule of Evidence 404(b), “[e]vidence of other crimes, wrongs, or

acts is not admissible to prove the character of a person in order to show action in

conformity therewith. It may, however, be admissible for other purposes, such as proof

of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

mistake or accident.”8 “The proper test to apply in deciding the admissibility of ‘similar

acts’ or ‘other acts’ evidence depends upon whether the evidence in question is ‘intrinsic’

or ‘extrinsic’ evidence.”9 The Government has provided notice to Nides prior to trial that

it seeks to introduce both extrinsic evidence pursuant to Rule 404(b) and intrinsic

evidence.




3 R. Doc. 71 at pp. 2–5. Miller and Mogan both pleaded guilty on October 29, 2014. R. Doc. 127.
4 R. Doc. 1.
5 R. Doc. 71.
6 R. Doc. 91.
7 R. Doc. 95.
8 Fed. R. Evid. 404(b).
9 U.S. v. Williams, 900 F.2d 823, 825 (5th Cir. 1990) (citations omitted).




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A. 404(b) Extrinsic Evidence

         The Government seeks to introduce extrinsic evidence relating to the corrupt law

enforcement conduct of Defendant Nides involving Advanced Medical Management and

the Paul Toye family in order to prove Nides’s “knowledge, intent, and employment of a

common plan or pattern of conduct in the charged offense.”10 The parties agree that the

two-step test articulated in United States v. Beechum governs the admissibility of

evidence of extrinsic offenses, acts, and other wrongs.11 “First, it must be determined

that the extrinsic offense evidence is relevant to an issue other than the defendant’s

character,” and “[s]econd, the evidence must possess probative value that is not

substantially outweighed by its undue prejudice and must meet the other requirements

of rule 403.”12

         Nides argues that Beechum’s warning of the dangers inherent in extrinsic offense

evidence is applicable here:

         “One of the dangers inherent in the admission of extrinsic offense evidence
         is that the jury may convict the defendant not for the offense charged but
         for the extrinsic offense. This danger is particularly great where, as here,
         the extrinsic activity was not the subject of a conviction; the jury may feel
         that the defendant should be punished for that activity even if he is not
         guilty of the offense charged.”13

Because there have not been any convictions related to the American Medical

Management clinic, Nides argues this danger is particularly great in this case because

the extrinsic activity was not the subject of a conviction.

         To determine relevancy under the first prong of the Beechum test, Rule 401

provides that “[e]vidence is relevant if . . . it has any tendency to make a fact more or


10 R. Doc. 91 at p. 15.
11 582 F.2d 898, 911 (5th Cir. 1978) (en banc).
12 Id. The Court finds that a reasonable jury could conclude that Nides committed the extrinsic offense.
13 R. Doc. 95 (quoting 582 F.2d at 914 (citations omitted)).




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less probable than it would be without the evidence.” 14 “The relevancy of the evidence

‘must be assessed by comparing the state of mind required for the past and present

offenses.’”15 Additionally, in conspiracy cases in which the defendant pleads not guilty,

“[e]vidence of such extrinsic offenses as may be probative of a defendant’s state of mind

is admissible unless he ‘affirmatively take(s) the issue of intent out of the case,” since “a

not guilty plea renders the defendant’s intent a material issue and imposes a difficult

burden on the government.”16 In this case, the Court finds the evidence is “relevant to an

issue other than the defendant’s character.”17 As the Government argues in its notice of

intent, this extrinsic act evidence is “related to the same state of mind, intent, or mode

of operation,” so “the relevancy prong of the two-prong Beechum test is satisfied.”18

        Beechum also requires that “the evidence . . . possess probative value that is not

substantially outweighed by its undue prejudice and . . . meet the other requirements of

rule 403.”19 This requires the Court to conduct a “commonsense assessment of all the

circumstances surrounding the extrinsic offense.”20 In performing the Rule 403

balancing test and considering all of the circumstances surrounding the extrinsic act

evidence, the Court finds that the possibility of undue prejudice does not substantially

outweigh the probative value of the evidence in this case. Even though there may not

have been charged crimes or convictions resulting from this conduct, 21 the extrinsic act

evidence is probative of Nides’s knowledge, intent, and employment of a common plan

14 Fed. R. Evid. 401.
15 U.S. v. Scott, 48 F.3d 1389, 1396 (5th Cir. 1995) (citing U.S. v. Devine, 934 F.2d 1325, 1346 (5th Cir.

1991)).
16 U.S. v. Roberts, 619 F.2d 379, 382–83 (5th Cir. 1980) (quoting U.S. v. Williams, 577 F.2d 188 (2d Cir.

1978)).
17 U.S. v. Beechum, 582 F.2d 898, 911 (5th Cir. 1978) (en banc).
18 R. Doc. 91 at p. 12.
19 Id.
20 Beechum, 582 F.2d at 914.
21 Rule 404(b) refers to other crimes as well as other wrongs or acts. Fed. R. Evid. 404(b). Such evidence is

admissible, provided it meets the Beechum two-pronged test.


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or pattern of conduct in the charged offenses. Further, a proper jury instruction

regarding the use of this evidence will adequately protect the Defendant against any

potential prejudice. For that reason, the Court finds that this evidence is admissible.

B. Intrinsic Evidence

         The Government also seeks to introduce intrinsic evidence of the crimes charged

in the indictment relating to Nides’s disclosure of confidential law enforcement

information to Tiffany Miller about the Global Health Care search. The Government

argues that “the unlawful conduct related to Global Health Care is included as a part of

the charged offenses in the indictment and is therefore intrinsic and admissible.” 22

         The Fifth Circuit has held that “‘evidence of an uncharged offense arising out of

the same transaction or series of transactions as the charged offense is not an ‘extrinsic’

offense within the meaning of Rule 404(b)” and is therefore not barred.23 Similarly,

evidence of another act is intrinsic if it and “evidence of the crime charged are

‘inextricably intertwined’ or both acts are part of a ‘single criminal episode’ or the other

acts were ‘necessary preliminaries’ to the crime charged.”24 “This evidence is admissible

to complete the story of the crime by proving the immediate context of events in time

and place.”25

         Defendant Nides’s response is premised entirely on his Motion to Sever Counts 7

and 9 from the remainder of the indictment.26 Defendant contends that the Global

Counts, Counts 7 and 9, if intrinsic at all were intrinsic to the Florida case: “Should the

Court grant the severance motion, that will presumably moot the admissibility of the

22 R. Doc. 91 at p. 6.
23 U.S. v. Kloock, 652 F.2d 492, 494 (5th Cir. 1981).
24 U.S. v. Coleman, 78 F.3d 154, 156 (5th Cir. 1996) (quoting U.S. v. Williams, 900 F.2d 823, 825 (5th Cir.

1990)).
25 Id. (citing Kloock, 652 F.2d at 494–95).
26 R. Doc. 65; R. Doc. 95 at pp. 1–2.




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Global evidence as intrinsic evidence in the trial of the remaining counts of the

indictment.”27 The Court denied the motion to sever.28 Counts 7 and 9 remain in the

superseding indictment and will be decided at the jury trial scheduled in this case.

Clearly, information relating to Nides’s 2008 disclosure of confidential law enforcement

information to Tiffany Miller about the Global search is intrinsic evidence with respect

to Counts 7 and 9, which charge Nides with false statements to a federal agent relating

to that conduct. Accordingly, this evidence is admissible.

                                    CONCLUSION

         For the foregoing reasons, the Court finds that the evidence of other acts as

specified in the Government’s notice of intent is admissible.

         New Orleans, Louisiana, this 3rd day of November, 2014.


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                                                SUSIE MORGAN
                                                UNITED STATES DISTRICT JUDGE




27 R. Doc. 95 at p. 2.
28 R. Doc. 108.




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